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                       THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION


 SYMBOLOGY INNOVATIONS, LLC,

                Plaintiff,
                                              CIVIL ACTION NO. 2:17-cv-00002
         v.

 JASCO PRODUCTS COMPANY LLC

                Defendant.




                             NOTICE OF DISMISSAL

         Under the Federal Rule of Civil Procedure 41(a), Symbology Innovations,
LLC (“SI”) voluntary dismisses all claims against Defendant Jasco Products
Company LLC with prejudice, with each party bearing its own attorneys’ fees and
costs.
Dated: April 4, 2017                   Respectfully submitted.


                                             /s/ Steven War
                                             Steven War
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                                             Innovations, LLC
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                                  CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on April 4, 2017, I have caused a true and

correct copy of the foregoing to be electronically filed with the Clerk of the District Court using

the CM/ECF system, which will send notifications of such filing to all counsel of record.

Dated: April 4, 2017                                  By: /s/ Steven War

                                                      Steven War
